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                                    Exhibit A
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             Expert Report
             To:      Mr. Stephen Rosenthal and Ms. Christina Martinez, Podhurst Orseck, P.A.

             From:    Wei Cui, Allard School of Law, University of British Columbia

             Date:    6/7/2023

             Re:      Preliminary expert report on Chinese regulatory issues arising from Circuitronix dispute




             This report offers an initial assessment of certain Chinese regulatory issues implicated in a
             contractual dispute between Jiangmen Benlida Printed Circuit Co., Ltd. (“BLD”) and Circuitronix,
             LLC (“CTX”), which you, as defense counsels, have brought to my attention on June 2, 2023. The
             following discussion is based on a very limited review of certain materials you have shared: a list of
             documents that I have reviewed and that form the basis of this report is given below.

             Specifically, the report addresses the following questions regarding whether BLD, as a manufacturer
             in China that exports goods to CTX and CTX’s Hong Kong affiliate (“CTX HK”), has failed to
             comply with Chinese foreign exchange regulations. Concerns have been raised about two aspects of
             BLD’s conduct. First, BLD sometimes instructed CTX and/or CTX HK to make payments to BLD’s
             Chinese affiliate company Kaiyu Electric Circuit Co., Ltd., also known as ROK Printed Circuit Co.,
             Ltd. (“ROK”) for outstanding amounts payable to BLD, relating to export shipments made by BLD in
             its own name. Second, issues regarding price and product quality have resulted in delayed or reduced
             payments by CTX for the amounts BLD invoiced for shipped goods. BLD may not have reported
             such gaps between declared export value and payment receipt to Chinese governmental authorities as
             required.

             The transactions between BLD/ROK and CTX are complex and under dispute. This report only seeks
             to articulate some of the Chinese regulatory issues posed by the two aspects of BLD’s conduct
             described above. The precise nature of such conduct needs to be further understood to allow the
             correct application of Chinese law and governmental instructions, and to determine the likelihood and
             magnitude of any governmental sanctions for non-compliance.

             At least two principles in China’s foreign exchange regulatory practice are potentially relevant to the
             evaluation of BLD’s conduct above. The first is the principle that the party that is the legal exporter
             of goods should be the recipient of foreign currency payments for the export (hereinafter the
             “Exporter-Payee Identity Principle”). The principle has been repeatedly stated in agency guidance
             issued by the State Administration of Foreign Exchange (SAFE). It has also been recognized in some
             Chinese court decisions as a principle that relevant subjects should comply with. Non-compliance
             with the principle, possibly in connection with other violations, has led to the imposition of penalties
             in some reported cases. Therefore, whether BLD may be sanctionable for violations of the Exporter-
             Payee Identity Principle, when it instructed amounts due BLD to be paid to ROK, deserves further
             examination.

             A second principle in China’s foreign exchange regulatory practice relevant to the evaluation of
             BLD’s conduct is that exporters, who are entitled to receive foreign currency payments, must make



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             timely reports of the receipt or extension of trade credit in the form of deferred payments, advanced
             payments, and other transactions (hereinafter the Trade Credit Reporting Requirement). This
             reporting requirement has been in place since 2012, and the government’s position is that persistent
             failure to report outstanding trade credit could lead to monetary penalties or the downgrading of the
             exporter’s compliance status with SAFE, which would in turn lead to more careful scrutiny of a
             firm’s foreign exchange transactions. Some instances of monetary penalties imposed on exporters for
             the failure to periodically report trade credit have been reported. Whether BLD may be sanctionable
             for violations of the Trade Credit Reporting Requirement thus also deserves further examination.

             It should be noted that it is not clear whether Chinese government authorities would sanction BLD’s
             violations of the Exporter-Payee Identity Principle and the Trade Credit Reporting Requirement per
             se. Any government sanction may depend on whether such violations lead to other consequences that
             the government deems undesirable or sanctionable. For example, in some correspondence between
             BLD and CTX, BLD stressed that it has hidden from Chinese governmental authorities and other
             third parties the causes of gaps between the invoiced value of goods exported and the payment
             received. The reasons for BLD’s decision to withhold information from government agencies and
             third parties are not clear. An examination of this issue may be aided by materials I have not yet been
             privy to, such as communications between BLD and Chinese governmental authorities and the
             deposition testimony of BLD witnesses, which I understand have not yet been transcribed (hereinafter
             the Discovery Materials). Such further examination may also reveal other Chinese legal rules and
             regulatory practices that BLD’s conduct may be in violation of. This report does not address such
             other issues.

             In relation to determining BLD’s (non-)compliance with the Trade Credit Reporting Requirement, if
             an exporter like BLD is deemed to be a Type B or Type C firm (which are firms with detected
             irregularities under the foreign exchange management rules) by the local SAFE branch, there may be
             relevant communications with government agencies. Further, some exporters are selected for an
             annual survey regarding international payments and the use of trade credits. If BLD had been selected
             for such survey in some of the years under dispute, records may exist for its trade credit survey
             reports for those years. I have not yet been privy to such records, but if they are provided, further
             examination may be warranted.

             This report merely identifies some features of the Chinese regulatory framework in light of which
             BLD’s conduct may be assessed. In view of the outstanding nature of the Discovery Materials, I am
             unable to reach any conclusions regarding BLD’s compliance (or lack thereof) with such framework.
             Nor does this report purport to identify all features of Chinese regulations that may be implicated by
             the dispute between BLD and CTX.

             List of documents forming the basis of this report


             Factual material reviewed: Documents BLD_59, CTX_1376-1389, CTX_1390-1403, CTX_2070,
             CTX_2173, CTX_2196, CTX_3490, CTX_2018-2019, CTX_3495-3496, CTX_4078 (all received
             June 2, 2023)

             Chinese regulatory guidance: Regulation of the People's Republic of China on Foreign Exchange
             Administration (State Council Decree No. 532, 2008); SAFE Notice on Matters concerning the
             Issuance of Foreign Exchange Administration Rules for Trade in Goods (Huifa [2012] 38); SAFE
             Notice on the Issuance of Guidance on Foreign Exchange Operations under Current Accounts (Huifa
             [2020] 14); other associated agency manuals and instructions; associated judicial decisions.




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             Ancillary information


             The fees I receive for services provided to you in connection with the BLD-CTX litigation are not
             contingent on the outcome of the case. My billing rate is USD 650 per hour. I have not testified as an
             expert by trial or deposition within the previous four years. My CV is attached to this report.



             Wei Cui
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             The University of British Columbia

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